          Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 1 of 56




                     EXHIBIT A




22946645.v1
                           Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 2 of 56
                                                                                                                                                    ....._.,.._ ._~...._:......_~: _...__.. .___ _ .
       Court of Common Pleas of Yhiladelphia Coun                                                               —~                                     For Prothohotarv'Use OnfYlDocket Number       ''"
                             Trial Division
                                                                                                               ~ ~~                        ~Y2o21~~~~~~~                             ~ ~, 0016►~~
                       Civil Cover Sheet                                                                       f E-FilingNumeer: 2105032729„

PLAINTIFF'S NAME                                                                                                 DEFENDANTS NAME
 EUGENE G. KOZUCH                                                                                                      THE BOEING COMPANY


PLAINTIFF'S ADDRESS                                                                                              DEFENDANTS ADDRESS
 462 HILLSIDE ROAD                                                                                                     C/0 CORPORATION SERVICE C0. 2595 INTERSTATE
 RIDLEY PARK PA 19078                                                                                                  DRIVE, #103
                                                                                                                       HARRISBURG PA 17110

PLAINTIFF'S NAME                                                                                                 DEFENDANTS NAME
 KATHRYNANN KOZUCH                                                                                                     3M COMPANY

PLAINTIFF'S ADDRESS                                                                                              DEFENDANTS ADDRESS
 462 HILLSIDE ROAD                                                                                                     3M CORPORATE HEADQUARTERS 3M CENTER
 RIDLEY PARK PA 19078                                                                                                  ST. PAUL MN 55144


PLAINTIFF'S NAME                                                                                                 DEFENDANTS NAME
                                                                                                                        WYETH HOLDINGS CORPORATION, F/K/A AMERICAN
                                                                                                                        CYANAMID COMPANY
PLAINTIFF'S ADDRESS                                                                                              DEFENDANTS ADDRESS
                                                                                                                        5 GIRALDA FARMS
                                                                                                                        MADISON NJ 07940


TOTAL NUMBER OF PLAINTIFFS          TOTAL NUMBER OF DEFENDANTS                                          COMMENCEMENT OF ACTION
                                                                                                        ® Co)nplaint„, ❑ Petition Action             ❑ Notice of Appeal
                   2                                   18
                                                                                                1 -❑ Writ• ofSummons 0 Transfer From Other Jurisdictions
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AMOUNT IN CONTROVERSY           COURTPROGRAMS                        ,                _                 •;~. ._..• ..r..,                                     ~1
                                                                         ..                     .                           :,_,..
                               ❑    Arbitration                                 ® :,Miss .Toit - .'+. .:,. -• ~:                                          ❑ ;Commerce                           Settlement
 ❑    $50,000.00 or less       ❑    Jury                     T                  ❑   Saviijgs Action_ ;~. =                                                ❑ Minor Court Appeal                ❑
                                                                                                                                                                                              ❑ Minors
 ® More than $50,000.00        ❑    Non-Ju ry •- .,                             ❑ 4 Pet~tion ' '      rt , ' t•~
                                                                                                              ' •                                         ❑ •,Statuto ry
                                                                                                                                                                       . Appeals              ❑ W1D/Survival
                                                                                - ~. ;
                               ❑    Other: ;                                                                   t
                                                                                          :..                                                                      i
 CASE TYPE AND CODE                                              [            ~ ^
                                                                                                                  ,
                                                                                      ,                          ,      ...
     T1 — MASS TORT — ASBESTOS,                       .-                     ',~'::;:
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                                                                                                                          :•
                                                 . . ..                       „~.,.,_ .             .        „ ., ., . :             ~.............. ..            , ,
 STATUTORY BASIS FOR CAUSE OF ACTION                                                                              ; r
                                                                                                                   ~


                                                                                                                                                                             IS CASE SUBJECT TO
 RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                 FiLM
                                                                                                             ~r1~, fj©~ij~                                                   COORDINATION ORDER7
                                                                                                         ~   ~tV f'iiV                                                                       YES           NO


                                                                                                MAY 19 2021
                                                                                                                S. RICE

 TO THE PROTHONOTARY:
                                                                                           KATHRYNANN KOZUCH
 Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: EUGENE G KOZUCH ,
 Papers may be served at the address set forth below.

 NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATfORNEY                                                            ADDRESS
                                                                                                                        1515 MARKET STREET
     CASEY R. COBURN
                                                                                                                        SUITE 2000
 PHONENUMBER                              FAXNUMBER                                                                     PHILADELPHIA PA 19102
     (215)546-8200                        (215)545-1591

 SUPREME COURT IDENTIFICATION NO.                                                                                 E—MAIL ADDRESS

     201624                                                                                                             ccoburn@nasscancelliere.com

 SIGNATURE OF FILING ATTORNEY OR PARTY                                                                             DATE SUBMITTED

     CASEY COBURN                                                                                                       Wednesday, May 19, 2021, 08:57 am

                                                           FINAL COPY (Approved by the Prothonotary Clerk)
             Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 3 of 56


COMPLETE LIST OF DEFENDANTS:
    1. THE BOEING COMPANY
         C/0 CORPORATION SERVICE CO. 2595 INTERSTATE DRIVE, #103
         HARRISBURG PA 17110
    2. 3M COMPANY
          3M CORPORATE HEADQUARTERS 3M CENTER
          ST. PAUL MN 55144
    3. WYETH HOLDINGS CORPORATION, F/K/A AMERICAN CYANAMID COMPANY
          5 GIRALDA FARMS
          MADISON NJ 07940
    4. BRAND INSULATIONS, INC.
          C/O CT CORPORATION SYSTEMS 600 N. 2ND STREET, SUITE 401
          HARRISBURG PA 17101
    5. CATERPILLAR, INC.
          100 N.E. ADAMS STREET
          PEORIA IL 61629
    6.CLARK EQUIPMENT COMPANY
          C/0 CT CORPORATION SYSTEMS 600 N. 2ND STREET, SUITE 401
          HARRISBURG PA 17101
    7. CRANE COMPANY
          100 FIRST STAMFORD PLACE
          STAMFORD CT 06902
    8. DREVER COMPANY
          124 S. YORK ROAD
          HATBORO PA 19040
    9. DEXTER HYSOL AEROSPACE, LLC
          CORPORATION SERVICES COMPANY 215 LITTLE FALLS DRIVE
          WILMINGTON DE 19808
    10. FOSTER WHEELER, LLC
          UNITED AGENT GROUP 3411 SILVERSIDE ROAD TATNALL BUILDING, #104
          WILMINGTON DE 19810
    11. HAJOCA CORPORATION
          CORPORATION SERVICE COMPANY 2595 INTERSTATE DRIVE, #103
          HARRISBURG PA 17110
    12. HENKEL CORPORATION
          CORPORATION SERVICES COMPANY 215 LITTLE FALLS DRIVE
          WILMINGTON DE 19808
    13. HONEYWELL INTERNATIONAL, INC. AS SUCCESSOR IN INTEREST TO
          ALIAS: TO BENDIX CORPORATION
          CORPORATION SERVICE C0. 2595 INTERSTATE DRIVE, #103
          HARRISBURG PA 17110
    14. KEELER/DORR-OLIVER BOILER C0.
          C/0 JOHN G. GAUL, ESQUIRE THREE LOGAN SQUARE 1717 ARCH STREET, SUITE 3710
          PHILADELPHIA PA 19103
    15. METROPOLITAN LIFE INSURANCE CO.
          200 PARK AVENUE
          NEW YORK NY 10166
    16. UNION CARBIDE CORPORATION
          C/0 CT CORPORATION SYSTEMS 600 N. 2ND STREET, SUITE 401
          HARRISBURG PA 17101
    17. U.S. SUPPLY COMPANY
          RT. #13 & BATH ROAD
          BRISTOL PA 19007
    18.  WEINSTEIN SUPPLY CO.
          4612 LANCASTER AVENUE
          PHILADELPHIA PA 19131
               Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 4 of 56




                                                                                                      Filed                                        the
                                                                                                    Office                                        ords
                                                                                                        19                                        un




By: Casey R. Coburn                                                                            Attorneys for Plaintiff,
E-mail: ccoburn@nasscancelliere.com
Identification No. 201624
NASS CANCELLIERE                                                         ASSESSMENT OF DAMAGES HEARING
1515 Market Street, Suite 2000                                           IS REQUIRED
Philadelphia, PA 19102                                                   NON-JURY
(215)546-8200

EUGENE G. KOZUCH and                                                     COURT OF COMMON PLEAS
KATHRYNANN KOZUCH, h/w                                                   PHILADELPHIA COUNTY
462 Hillside Road
Ridley Park, PA 19078
                                                                         MAY TERM, 2021
                       V.                                                NO.


THE BOEING COMPANY
c/o Corporation Services Co.
2595 Interstate Drive, Suite 103
HarrisburQ, PA 17110 (CONT'D)

                                                     CIVIL ACTION - COMPLAINT
                                                     (Personal Injury - 2090 Asbestos)
                                                          NOTICE TO DEFEND
                             NOTICE                                                  AVISO
You have been sued in court. If you wish to defend against the           Le han demandado a usted en la corte. Si usted quiere defenderse de
claims set forth in the following pages, you must take action within     estas demandas espuestas en las paginas siguientes, usted tiene veinte
twenty (20) days after this complamt and notice are served, by           (20) disa de plazo el partir de la fecha de la demanda y la
entering a written appearance personally or by attomey and filing in     notificacion. Hace falta asentar una comparencia escrita o en
writing with the court your defenses or objections to the claims set     persona o con un abogado y entregar a la corte en forma escrita sus
forth against you. You are wamed that if you fail to do so the case      defensas o sus objeciones a las demandas en contra de su persona.
may proceed without you by the court without further notice for any      Sea avisado que si usted no se defiende, la corte tomara medidas y
money claimed in the complaint or for any other claim or relief          puede continuar la demanda en contra suya sin previo aviso o
requested by the plaintiff. You may lose money or property or other      notificacion. Ademas, la corte puede decidir a favor del demandante
rights important to you.                                                 y requiere que usted cumpla con todas las provisiones de esta
                                                                         demanda. Usted puede perer dinero o sus propiedades u otros
                                                                         derechos importantes para usted.
 You should take thfs paper to your laxyer al once. Ifyou do not
 have a lawyer or cannot afford one, go to or telephone the office set   Lleva esta demanda a un abogado immediatamente. Si no ttene
forth below tofind our where you can get legal help.                     abogado o sf no tiene el dinero sufrciente de pagartal servicio. 1/aya
                  Philadelphia Bar Association                           en persona o llame por telefono a la ofrcina cuya direccton se
             Lawyer Refen al and Information Service                     encuentra escrita abajo para averiguar donde se puede consequir
                      One Reading Center                                 asistencia legal.
                Philadelphia, Pennsylvania 19107
                         (215)238-6333                                                Asociacion de Licenciadosde Filadelfia
                                                                                    Servicio de Referencia e Informacion Legal
                                                                                               One Reading Center
                                                                                          Filadelfia, Pennsylvania 19107




                                                                                                                                 Case ID: 210501678
         Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 5 of 56




By: Casey R. Coburn                                         Attorneys for Plaintiff,
                a,nasscancelliere.com
E-mail: ccoburn(~
Identification No. 201624
NASS CANCELLIERE                                    ASSESSMENT OF DAMAGES
1515 Market Street, Suite 2000                      HEARING IS REQUIRED
Philadelphia, PA 19102                              NON-JURY
(215) 546-8200

EUGENE G. KOZUCH and                                COURT OF COMMON PLEAS
KATHRYNANN KOZUCH, h/w                       :      PHILADELPHIA COUNTY
462 Hillside Road
Ridley Park, PA 19078
                                                     TERM, 2021
              V.                             :      NO.

THE BOEING COMPANY
c/o Corporation Services Co.
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110 (CONT'D)
                                 SHORT FORM COMPLAINT

       Plaintiff incorporates by reference Plaintiffs Master Long Form Complaint In Re: Asbestos

Litigation in Philadelphia Court of Common Pleas, filed as of October Term, 1986, No. 8610-0001.

Pursuant to an Order dated July 30, 1986 and signed by the Honorable Richard B. Klein and the

Honorable Edward J. Blake the following Short Form Complaint is utilized in this asbestos action.




                                                                                          Case ID: 210501678
            Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 6 of 56




      1.       This Complaint involves the claims for the following persons:

      (a) Plaintiff

            Name:      Eugene G. Kozuch

            Address:   462 Hillside Road
                       Ridley Park, PA 19078

                       Social Security Number: xxx-xx-3553

                       Date of Birth: 9/29/1935

       (b) Spouse:     Kathrynann Kozuch

                       Social Security Number: xxx-xx2825

                       Date of Birth: 11/6/1943

       2.       The Defendants are those companies identified in the caption of this Complaint.

       3.       PlaintifPs employment history is as follows:

                Employer:      Outside House Painter
                Years:         1953
                Job Title:     Painter

                Employer:      United Container (Philadelphia, PA)
                Years:         1954 - 1968
                Job Title:     Loading Trucks/Forklift

                Employer:      Zenith Metals (Morton, PA)
                Years:         1968 —1969
                Job Title:     Forklift Operator

                Employer:      Warner Company (DeVault, PA)
                Years:         1969 - 1970
                Job Title:     Machine operator

                Employer:      Boeing
                Years:         1974 - 1999
                Job Title:     Inventory Control, Forklift Operator, Storeroom, Production
                               Control Dispatcher

        4.     Plaintiff was exposed to asbestos during portions of his employment for Boeing.
Discovery and investigation is continuing as to whether the plaintiff was exposed to asbestos in any
other occupational settings or non-occupational settings.




                                                                                           Case ID: 210501678
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          5.       Defendant, The Boeing Company, is being sued based upon employer premises
 liability in that the defendant negligently owned, possessed, operated and controlled the premises in
 Ridley Park, Pennsylvania in a manner that the plaintiff was exposed to asbestos dust from asbestos-
 containing products that were being utilized on defendant's premises, and that the defendant knew
 or should have known that this exposure was a significant health hazard to its employees, the
_plaintiff and. others similarly..situated.

        6.     Insofar as defendant, The Boeing Company, plaintiff specifically incorporates herein
by reference the employer liability allegations set forth in Count VII of the above-referenced Master
Long Form Complaint.

        7.      Plaintiff was diagnosed on or about April 13, 2021, as suffering from mesothelioma.
Plaintiff's exposure to asbestos was a factual cause of his mesothelioma.

        9.      A claim for lost wages is not being asserted at this time.

                                               NASS CANCELLIERE


                                                BY:
                                                        CASEY R. a&URN
                                                        Attorneys for Plaintiffs




                                                                                             Case ID: 210501678
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3M Company                                   Honeywell International, Inc.
3M Corporate Headquarters                    as successor in interest to Allied Signal, Inc.,
3M Center                                    as successor in interest to Bendix Corporation
St. Paul, MN 55144-1000                      Corporation Service Co.
                                             2595 Interstate Drive, Suite 103
Wyeth Holdings Corporation, f/k/a American   Harrisburg, PA 17110
Cyanamid Company
5 Giralda Farms                              Keeler/Dorr-Oliver Boiler Co.
Madison, NJ 07940                            c/o John G. Gaul, Esquire
                                             Three Logan Square
Brand Insulations, Inc.                      1717 Arch Street, Suite 3710
c/o C.T. Corporation Systems                 Philadelphia, PA 19103-2832
600 N. 2°a Street, Suite 401
Harrisburg, PA 17101                         Metropolitan Life Insurance Co.
                                             200 Park Avenue
Caterpillar, Inc.                            New York, NY 10166
100 N.E. Adams Street
Peoria, IL 61629                             Union Carbide Corporation
                                             c/o C.T. Corporation Systems
Clark Equipment Company                      600 N. 2°d Street, Suite 401
c/o C.T. Corporation Systems                 Harrisburg, PA 17101
600 N. 2nd Street, Suite 401
                                             U.S. Supply Company
Harrisburg, PA 17101
                                             Rt. #13 & Bath Road
                                             Bristol, PA 19007
Crane Company
100 First Stamford Place                     Weinstein Supply Co.
Stamford, CT 06902-6740                      4612 Lancaster Avenue
                                             Philadelphia, PA 19131
Drever Company
124 S. York Road
Hatboro, PA 19040

Dexter Hysol Aerospace, LLC
Corporation Services Company
215 Little Falls Drive
Wilmington, DE 19808

Foster Wheeler LLC
United Agent Group
3411 Silverside Road
Tatnall Building # 104
Wilmington, DE 19810

Hajoca Corporation
Corporation Service Company
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110

Henkel Corporation
Corporation Services Company
215 Little Falls Drive
Wilmington, DE 19808
                                                                                    Case ID: 210501678
               Case 2:21-cv-03667-ER
                                   VERDocument 1-1 Filed 08/17/21 Page 9 of 56
                                       IFICATION

                                                                                       .the- facts contained in .the
        The . nndersigned: iS the: Plairititf:ii i tbis. action,.:and -verifies that
                                                                                  , -iriforrnation, and belief To
foregoing document are true and correot to the best of-my, knowledge
                                                                                 ation gathered by my counsel,
the extent that the contents of the said document are based on inform
                                                                               cation. The language of this
the undersigned has relied- upon colznsel. in executing this verifi
                                                                           ing that the statements contained in
verification ls that. of counsel. and riot of tlie signer. .I understand
                                                                         S; section 4904 xelating to unsworn
said document are. made -subject -to the perialties of 18 Pa,:C.

falsification to authorities. .


                            ~
                                                     B,y:.                            ~
DATE:         ~T~ ~''.~lD~




                                                                                                            Case ID: 210501678
         Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 10 of 56




                     EXHIBIT B




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NASS CANCELLIERE
By: Michael A. Cancelliere, Jr., Esquire
Attorney Identification No. 56989                                         Attorneys for Plaintiff(s)
1515 Market Street, Suite 2000
Philadelphia, PA 19103
(215) 546-8200

EUGENE G. and KATHRYNANN                       :    COURT OF COMMON PLEAS
KOZUCH, h/w                                    :    PHILADELPHIA COUNTY
                                               :
                                               :
                     vs.                       :    ASBESTOS CASE
                                               :
                                               :    MAY TERM, 2021
THE BOEING COMPANY, et al.                     :
                                               :    NO.: 001678
                                               :



                           PLAINTIFFS’ ANSWERS TO DEFENDANTS'
                                MASTER INTERROGATORIES

        1.    Please state your full name, including aliases or nicknames; date of birth; social
security number and current address.

               Full name:       Eugene G. Kozuch
               SSN:             XXX-XX-XXXX
               Nicknames:       Gene
               Address:         462 Hillside Road, Ridley Park, PA 19078
               Date of Birth:   9/29/1935

        2.      If the person answering these interrogatories is the representative of a deceased
claimant, set forth the name of the person responding to these interrogatories; the legal capacity in
which that person is responding; the date and place of the decedent's death; the decedent's cause of
death; and, whether or not you contend that the decedent's death was related to asbestos exposure.

               N/A




                                                   -1-
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        3.     Have you or your attorneys filed on behalf of any of the plaintiffs named herein, any
related or companion lawsuits or legal actions in any court based upon any alleged asbestos-related
condition? If so, please list the caption and identifying number of any such suits.

               No

        4.     Please provide a chronological list of all addresses at which you have resided.
Please also provide the dates of residence at these addresses.

               See Exhibit 1

       5.      State the names and dates of birth of your spouse and children, as applicable.

               Spouse:          Kathrynanne Kozuch
               Children:        Brian Kozuch (43)
                                David Kozuch (40)

      6.      If any person, including those listed in No. 5 above, is partially or totally financially
dependent upon you, state his or her name, date of birth, current address, relationship to you, and the
amount of support given during the last five (5) years.

               Mrs. Kozuch only.

       7.      Set forth your current occupation and employer.

               Position:        Retired
               Employer:

       8.      Please provide a complete chronological history of work experience, to include: the
name and address of each employer and work site; your job title and the dates of employment; and,
whether you were exposed to asbestos at the job or work site listed, and the period of time for each
exposure alleged.

               See Exhibit 2.

       9.      If this lawsuit is based upon any asbestos exposure other than that described in the
preceding interrogatory, then set forth the nature, location and dates of said exposure.


               N/A




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      10.    If you are retired, please state the date of retirement, type of retirement, the
employment retired from and the reason for your retirement.

               Regular retirement from Boeing 1999.



       11.     During your last year of full-time employment, what was your gross income?


               N/A

       12.     What are the injuries for which you are claiming compensation in this lawsuit?



               Mesothelioma. See Plaintiff’s Complaint as well as Plaintiff’s medical records
               for further details.

       13.      What is the name and address of the doctor who diagnosed these injuries, and what
was the date of diagnosis?

               Doctor:                 Dr. Joseph Whitlark

               Diagnosis Date:         April 2021

         14.    Please provide a complete list of the hospitals, institutions or other health-related
facilities in which you have been confined, or in which you have received out-patient treatment,
including: the name and address of the hospital, institution, or other health-related facility; the date
of admission; the date of discharge; medical condition, illness or symptoms which were the basis for
each hospitalization, institutionalization, or other treatment; diagnosis at discharge; and, the full
name and address of admitting physician or principal treating physician.

               See Exhibit 3.

       15.      Please provide a complete list of medical practitioners, including, but not limited to,
physicians and therapists, excluding those listed in No. 14 above, who have rendered services to
you, and as to each, state: full name and present or last known address; the date(s) of examination,
treatment, or other care; and, the medical condition, illness or symptoms which were the basis for
each examination, treatment or consultation.




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               See Exhibit 4.

        16.     If you have ever used tobacco products, state: the type(s) of tobacco product you
have used; the dates during which you have used each type of tobacco product; and, the daily
frequency with which you have used each tobacco product (i.e., two packages of cigarettes daily,
three cigars daily, two pipefuls daily, etc.).

               Plaintiff smoked between 1 and 2 packs of cigarettes per day from
               approximately 1949 to 2000.

       17.     State whether you have ever sought, filed for, or received any of the following:
Workmen's Compensation benefits; sickness, accident or disability benefits provided by or through
an employer for non-employment related conditions; Social Security disability benefits; Veterans
medical or disability benefits; Union disability benefits; and, any other disability benefits.

               No

        18.     For each affirmative response to Interrogatory No. 17, please provide the following:
a description of the benefits sought, filed for, or received; the identity of each person, firm,
corporation or entity (including insurance companies or union) from which benefits were sought,
filed for or received; claim number, account number or other identifying information; the date of
request or claim for benefits; and, the date on which benefits were first received or denied.

               N/A

       19.     Describe your educational background, including:

               (a)     the names and addresses of all schools attended;

                       John Bartram High School, Philadelphia, PA

               (b)     dates of attendance;

                       1950-1954

               (c)     dates of graduation;

                       1954




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      (d)    diplomas or degrees received

             High School


20.   Have you ever served in the Armed Forces of the United States? If so, state:

             No

      (a)    the branch of the service;



      (b)    your serial number, initial rank, rank at discharge, and highest rank held;
             Serial Number:
             Initial Rank:
             Discharge Rank:

      (c)    the dates of your service;



      (d)    the type of discharge you received;



      (e)    whether you were given any physical examination which included x-rays;



      (f)    whether you were injured while in the service and the nature of your injury
             or injuries;



      (g)    whether you incurred any illness requiring hospitalization while in the
             service and the nature of that illness?




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              (h)    whether you claimed any disability for any injury, physical condition, or
                     illness arising out of your military service; and if so, state the details of the
                     claim, including the nature of the claim, the date the claim was made, when
                     the claim was adjudicated, and the compensation, if any, which was
                     awarded.



       21.    What is your present marital status?

              Married

       22.    Have you ever been married to anyone other than your present spouse? If so, state:



              (a)    Your former spouse's name and present address;

                     Elizabeth


              (b)    the date of the marriage;

                     Married for approximately 5 years

              (c)    how and when the marriage ended;

                     Divorce

              (d)    whether you provide any support for the former spouse;

                     No

              (e)    whether the former spouse provides any support for you.

                     No

        23.    Have you or your spouse ever lived apart from one another either under a legal
separation agreement or under an informal arrangement? If so,

              No




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       Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 17 of 56




             (a)    when?



             (b)    for how long?



             (c)    what was your address and your spouse's address during the separation?



      24.    Has your spouse ever been employed? If so, state:

             Yes, many years ago.

             (a)    the name and address of each employer;



             (b)    the dates of each employment;



             (c)    whether employment was or is full-time or part-time;



             (d)    the job title(s) and description(s);



             (e)    the amount of the spouse's average weekly or monthly salary.



        25.    Have you engaged in any part-time employment within the past five years in
addition to your regular occupation? If so, state:

             No




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         Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 18 of 56




              (a)    each employer for whom you worked part-time;



              (b)    the type of work performed;



              (c)    the rate of pay;



              (d)    the number of hours or days you were employed; and



              (e)    whether you are currently employed.



        26.   Describe any pain or suffering for which you are claiming compensation in this
lawsuit.

              Plaintiff suffers from shortness of breath, exertional intolerance, weakness,
              fatigue, general malaise, and mental anguish arising from having his disease as
              well as from the fear of his disease progressing and dying from his disease.

              See plaintiff’s complaint and medical records for additional details. Plaintiff is
              also expected to elaborate on this subject at his deposition.

        27.   Describe the nature of any disability for which you are claiming compensation in the
lawsuit.

              Because of the aforesaid physical symptoms, plaintiff is generally unable to
              exert himself as he did before the onset of his symptoms. He has difficulty
              walking, climbing steps, and exercising because of his shortness of breath and
              exertional intolerance. These physical symptoms along with his mental
              anguish, affect his ability to perform his customary day to day activities, as a
              result of which he suffers a loss of life's pleasures and enjoyment.




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               See plaintiff’s complaint and medical records for additional details. Plaintiff is
               also expected to elaborate on this subject at his deposition.

      28.      If you have had chest x-rays taken, including x-rays taken at the request of your
employer, state:

               (a)     the names and addresses of the persons who took the x-rays;

                       See plaintiff’s medical records in the possession of RecordTrak.

               (b)     the dates on which the x-rays were taken;

               (c)     the charges you incurred for the x-rays and evaluations; and

               (d)     if and when you were informed of the results of those x-rays.

        29.    Has any physician or other person conducted pulmonary function tests on you,
including pulmonary function tests done at the request of your employer? If so, who conducted the
tests and when and where were they conducted? Please list any costs you incurred for the tests.

               See plaintiff’s medical records in the possession of RecordTrak.

       30.      Are you still under a physician's care for the injuries which are the subject of this
lawsuit? If so, state:

               Yes, Plaintiff is receiving chemotherapy

               (a)     name(s) and address(es) of the treating physicians.

                       Dr. Benjamin Jacobs

               (b)     the frequency of treatment; and

                       Every 3 weeks

               (c)     the date you were last treated.

                       6/7/21




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        31.    Have you ever been confined to a bed or confined to your house because of the
condition for which you instituted this lawsuit? If so, state the period of that confinement.

               Periodically

       32.    Did you have annual or other regular physical examinations? If so, state the names
and addresses of the examining physicians, when and where they took place, whether you or your
employer requested these examinations, and whether you were advised of the results.

               Yes

      33.     If you have not fully recovered from the injuries for which you are suing, state in
what ways you have not fully recovered.

               No. See Nos. 26, 27 and 30 above.


       34.     Do you claim that exposure to asbestos has aggravated a pre-existing condition?

               No.

               (a)     If so, had you recovered from the pre-existing condition at the time of the
                       exposure to the asbestos materials?

               (b)     If you had recovered, what was the date of recovery?

        35.      When were you first aware of any symptoms which you now believe to be related to
the injuries for which you are suing? What were those symptoms?

               April 2021

        36.     If you believe you were exposed to asbestos materials aboard specific ships or in
certain buildings, identify the ships or buildings.

               See Exhibit 5.

       37.      Set forth in detail the exact nature of your work that involved exposure to asbestos
materials, including:




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              (a)     the frequency of contact with asbestos materials;

                      Varied according to job duties

              (b)     the frequency with which you worked near other persons who worked with
                      asbestos materials; and

                      Varied according to job duties

              (c)     the manner in which you performed your work.

                      Plaintiff performed typical duties of his trades

       38.     List, by type, brand or trade name, and manufacturer, every asbestos-containing
product to which you believe you were exposed.

              To be supplied by the plaintiff at his discovery deposition, and/or by plaintiff’s
              product identification witnesses.

        39.     For each asbestos-containing product identified in the answer to the preceding
interrogatory, set forth the places, circumstances, and dates of exposure.

              See Interrogatory 38.

        40.    For each separate defendant to whose asbestos products you claim exposure, state
the names, home addresses and business addresses of all individuals who have knowledge of that
particular exposure.

              To be supplied by the plaintiff’s product identification witnesses, the list of
              whom are being provided separately as required by the local rules applicable to
              asbestos actions.

         41.   State whether each asbestos-containing product you have identified had any caution
or warning, and if so, set forth the nature and text of each such warning or caution and when you
first became aware of such warning or caution.

              No.

      42.     Did you ever work with, or around, asbestos-containing materials, which were
manufactured, sold, prepared, or distributed, installed or removed by any person or company not
named as a defendant in this lawsuit?




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       To be supplied. Discovery and investigation is continuing.

       43.    If your answer to the previous interrogatory is in the affirmative, identify each such
person or company, and state:

               Not applicable.

               (a)     the type of product;

               (b)     when and where the exposure occurred;

               (c)     the type of work you were doing during this exposure;

               (d)     how the exposure occurred; and

               (e)     your employer at the time.

       44.    What are the names and addresses of each of your supervisors during the period in
which you claim you were exposed to asbestos materials?

               See Exhibit 6.

        45.    What are the names and addresses of each of your co-workers when you were
allegedly exposed to asbestos?

               See Exhibit 6.

       46.     Have you or your attorneys, representatives, or experts performed any tests upon any
asbestos-containing products, to which you claim you were exposed, to determine their
composition?

               No

       47.    If so, state the name, address, job classification, and employer of the person who
conducted each test, and;

               N/A

               (a)     the date of each test;




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               (b)    state the tools used in each test;

               (c)    state where each test was conducted?

               (d)    set forth a summary of the findings or results of each test;

               (e)    state the nature of the test performed on each product;

               (f)    state the names, addresses, and occupations of all persons present during any
                      of the tests;

               (g)    state the specific products on which the tests were conducted; identifying the
                      products by manufacturer, brand or trade name, and type of product;

               (h)    state whether any reports, notes, memoranda, or other type of record was
                      made for any such test, and if so, by whom?

        48.    State the present location of the record referred to in the preceding interrogatory,
including the name, address, and occupation of the person who has possession of such record.

               N/A

       49.    Do you, your attorneys, your representatives or experts have possession of any
samples of any asbestos or asbestos-containing products referred to in the Complaint and, if so,
state:

               To be made available for inspection if the plaintiff intends on using them at
               trial.

               (a)    the name, address, and job classification of the person having custody;

               (b)    the manufacturer's name, brand or trade name, distributor's name, and type of
                      product for each sample;

               (c)    when, where, and from whom each sample was obtained;

               (d)    whether the samples were altered or changed in any way from the state in
                      which they were manufactured and originally distributed;

               (e)    whether you have viewed any such sample; and if so, when?




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        50.     State whether you or any other person known to you has, or knows of, photographs
of insulating repair or insulation work done by, or near you; and if so, state:

               No.

               (a)    when each photograph was taken;

               (b)    the name, address, and occupation of the person who took each photograph;

               (c)    where each photograph was taken;

               (d)    the present location and the name, address, and occupation of the custodian
                      of each such photograph;

               (e)    what each photograph depicts;

               (f)    whether you personally have seen any such photographs; and if so, when?

       51.     Do you, or any person known to you, have, or know of, the existence of any asbestos
product information or data sheets with information about the characteristics and uses of any
asbestos product to which you were exposed. If so, state:

               To be supplied if the plaintiff intends to use them as evidence.

               (a)    the manufacturer or seller, brand or trade name, and type of product of each
                      sample;

               (b)    when and from whom each sample was obtained;

               (c)    whether you have seen any of these product information or data sheets and,
                      if so, when.

        52.    Do you, or any person known to you, have or know of, photographs of any asbestos-
containing products made or sold by any defendant or other person or company; and if so, state:

               To be supplied if the plaintiff intends to use them as evidence.

               (a)    when each photograph was taken;

               (b)    the name, address, and occupation of the person who took each photograph;




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               (c)    where each photograph was taken;

               (d)    the present location, and the name, address, and occupation of the person
                      who has possession of each such photograph;

               (e)    what each photograph depicts;

               (f)    whether you personally have seen any such photograph; and if so, when.

      53.    Did your employer ever give any instructions or warnings during the course of your
employment about any alleged dangers of asbestos?

               Yes

       54.      If the answer to the preceding interrogatory is yes, then, for each instruction or
warning, state:

               Sometime in the 1980’s

               (a)    the date given;



               (b)    the person who gave it;



               (c)    whether the communication was written or oral;



               (d)    if the communication was written, whether you have a copy of it in writing
                      or know of anyone who does have a copy?



               (e)    if the communication was written, the author of the communication; and



               (f)    a summary of the communication.




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        55.   Were masks, respirators, or other dust inhalation inhibitors available during any part
of your employment, and if so, state:

               Possibly sometime in the 1980’s

               (a)     whether the devices were provided by your employer;



               (b)     the period of time of your employment during which the devices were
                       available to you;



               (c)     what instructions were given to you about using the devices;



               (d)     the manufacturer of the device;



               (e)     whether and when you ever used the devices;



               (f)     how often, by a percentage of the time you were exposed to asbestos
                       materials, you in fact used the devices.



       56.    Did any of your employers ever recommend or require that you use any device to
reduce your possible exposure to, or inhalation of, asbestos fibers?

               Possibly sometime in the 1980’s


       57.     If your response to the preceding interrogatory was in the affirmative, state:




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            (a)   the employer's name and address;

            (b)   when, where, and the circumstances under which each recommendation or
                  requirement was made;

            (c)   the identity of the person who issued the recommendation or requirement to
                  you;

            (d)   the identity of each person present when each recommendation or
                  requirement was made to you;

            (e)   the identity of each person who received the same or similar
                  recommendation or requirement;

            (f)   the exact wording and content of each recommendation or requirement; and
                  whether it was made in writing or orally;

            (g)   the type, make, and model of each device referred to in each
                  recommendation, or requirement;

            (h)   the nature of the action, if any, you took in response to each recommendation
                  or requirement.

      58.    Did you at any time receive any publication, warning, requirement, or
recommendation, whether written or oral, which purported to:

            See previous answer

            (a)   advise you of possible harmful effects of exposure to, or inhalation of
                  asbestos; or



            (b)   recommend techniques or equipment which would reduce or guard against
                  such potentially harmful exposure?




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        59.  If you answered in the affirmative to any part of the preceding interrogatory, state
for each communication:

               See previous answer


               (a)    the nature and exact wording;

               (b)    when, where, and the circumstances under which it was communicated;

               (c)    the identity of each source;

               (d)    the identity of each witness to your receipt of the communication?

               (e)    the identity of each co-worker or similarly situated person who received a
                      similar communication.

        60.     Do you, or any person known to you, have, or know of, samples of any asbestos
product labels, warnings, packaging markings, or writings, or any other type of symbols or writings
identifying or describing such products or warning of hazards of such products; and if so, state:

               To be supplied if the plaintiff intends to use them as evidence.

               (a)    the manufacturer, brand or trade name, and type of product of each such
                      sample;

               (b)    when and from whom each sample was obtained;

               (c)    whether the samples were altered or changed in any way from when they
                      were originally produced;

               (d)    whether you have seen such samples; and if so, when.

        61.     Do you, or any person known to you, have, or know of, samples of warning signs,
notices, bulletins, pamphlets, memoranda, or other writing posted at your place of employment by
your employer, your labor union, by any state governmental agency, or by any federal governmental
agency, about asbestos health hazards or work practices and procedures to be followed when
working with or near asbestos-containing products; and if so, state:

               No.




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               (a)    the type and content of the sample;

               (b)    when and from whom the sample was obtained;

               (c)    when the writing was issued or posted; and

               (d)    the present location, and the name, address, and occupation of the person
                      who has possession, of each such sample.

     62.    Were you a member of any labor union at anytime?                If so, state for each
membership:

               Yes

               (a)    the name of the union and its local;

                      United Aerospace Local 1069


               (b)    the time periods in which you were a member;

                      While at Boeing

               (c)    the names of your local's officials.

                      Cannot recall

       63.     When were you an apprentice?

               N/A


       64.     When were you a journeyman?

               N/A

         65.     What offices have you held, and on what committees have you served for either your
local, regional, national or international union?

               None




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       66.     Have you ever attended any international, national, regional or local union meetings,
seminars, conferences, or conventions, at which the subjects of occupational health and exposure to
asbestos were discussed? If so, state:

               Not that Plaintiff can recall

               (a)     when and where such meetings took place;



               (b)     the names and addresses of any speaker or discussion leader; and



               (c)     a summary of the matters under discussion.



       67.     Have you ever been informed by any person in your local or international union of
any possible hazards associated with exposure to asbestos? If so, state:

               Not that Plaintiff can recall

               (a)     the name, address, and official capacity of the person;



               (b)     when and where you were so informed;



               (c)     the information you received;



               (d)     what action, if any, you took upon learning this information.




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         68.   Did you receive any union newspapers, newsletters, or other publication? If so,
state:

               Yes

               (a)     the type and nature of each publication received;

                       Newsletter

               (b)     how often you received such publications; and

                       Monthly

               (c)     whether you read such publications.

                       Sometimes

        69.      Have you ever discussed this lawsuit or the injuries you claim in this lawsuit with
any official of your local or international union? If so, state:

               No

               (a)     the name, address, and official capacity of each person with whom you
                       discussed these matters;



               (b)     when, where, and under what circumstances did you discuss these matters;



               (c)     the substance of these discussions.



       70.     Did you ever participate in any medical screening program or health survey
sponsored by, or with, your local or international union? If so, state:

               No

               (a)     when and where you so participated;




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               (b)    the nature of the program or survey;



               (c)    the name and address of any examining physician or health practitioner;



               (d)    whether any x-rays were taken.



       71.      If you are claiming loss of earnings or impairment of earning power because of any
asbestos-related condition, disease or injury, then state:

               N/A

               (a)    when you first became impaired;



               (b)    the name and address of your employer, your job classification, and your
                      monthly or weekly rate of pay at the time you claim to have become
                      impaired or lost earning power;



               (c)    if you had more than one employer during the three-year period prior to the
                      onset of the impairment in earning power, then state the names and addresses
                      of all employers, your job classifications, your weekly or monthly rates of
                      pay, and the dates of employment;



               (d)    the dates during which you were unable to work to your expectations
                      because of any asbestos-related injury, and the total amount of pay you lost
                      because of this inability.




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       72.     State whether you have ever sought, filed for or received any of the following:

               (a)     Social Security retirement benefits;

                       Yes

               (b)     Life insurance benefits including, but not limited to, waiver of premium;

                       Yes

               (c)     Union retirement benefits;

                       Boeing

               (d)     Any other retirement benefits; and



               (e)     Unemployment compensation.



       73.      When, if ever, did you first become aware that asbestosis was a compensable
occupational disease under a state or federal workmen's compensation Act? State how you became
aware of this fact.

               N/A

        74.     For each hospital, or other health-related facility in which you have been confined as
the result of any alleged asbestos related condition, disease or injury, itemize by facility the costs
you incurred. State whether or not these expenses have been paid, partially or wholly, and identify
the person or other entity who has paid them.

               To be supplied if the plaintiff intends to seek recovery of the same.

        75.     State the total amount of any other expenses, including doctor bills, which you
incurred as a result of your alleged asbestos-related condition, disease or injuries. State whether or
not these expenses have been paid, partially or wholly, and identify the person or other entity who
has paid them.




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              To be supplied if the plaintiff intends to seek recovery of the same.

      76.     If a claim is made for household help, state the names and addresses of each person
employed for household help, the dates of the employment, and the expenses incurred.

              To be supplied if the plaintiff intends to seek recovery of the same.

       77.     Do you now consume, or have you ever consumed, alcoholic beverages? If so,
describe what you drink, and the frequency and quantity of your consumption.

              When Plaintiff was younger. Not in recent years.

       78.    If you have used cigarettes, cigars, pipes, or any other tobacco product, state:



              (a)     the brand names of the tobacco product;

                      Kool and Pallmall

              (b)     whether you were ever advised by any physician, or other person to stop
                      using tobacco products, and if so, identify each person so advising you, and
                      state when the advice was given to you, and whether you followed the
                      advice.

                      No

       79.    If you ever stopped using tobacco products, please state your reasons for doing so.

              Personal choice

        80.    Are you aware of the United States Surgeon General's cautions placed on all
cigarette packages and advertisements? If so, when did you acquire this awareness?

              Yes

       81.    Have you ever read the warnings referred to in the preceding interrogatory?

              See No. 83




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       82.     Have you ever smoked cigarettes after becoming aware of the cautions?

               See No. 83

        83.     Are you aware that the use of tobacco may cause cancer? If so, when did you
acquire this knowledge?

               Plaintiff was not aware of this when he began smoking, and was never aware of
               the potentially deadly combination of asbestos dust inhalation and cigarette
               smoking.

       84.     Identify the sources of all information you, your attorneys, or other representatives,
obtained in answering the preceding interrogatory, setting forth the names and addresses of all
persons providing the information, their employment, and their job positions.


        85.       Have you ever given sworn testimony in a criminal or civil proceeding other than
this; and, if so, state:

               No

               (a)     when and where you testified;



               (b)     who called you as a witness;



               (c)     in what court you testified;



               (d)     the subject matter of your testimony;



               (e)     the parties to the proceedings.




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        86.    Identify all written statements which you have made which relate to the facts of this
lawsuit and the damages claimed.

               None.

         87.   List the names of each person who will testify as a fact witness on behalf of the
plaintiffs.

               Plaintiff’s product identification and exposure witnesses, and plaintiff’s family
               members. Plaintiff reserves the right to supplement or amend his fact witness
               list.

        88.    For each person identified in your answer to interrogatory number 87, state the
person's

               To be supplied when plaintiff makes a final determination as to who will be
               testifying as fact witnesses.

               (a)     age;

               (b)     home and business address;

               (c)     employer's name;

               (d)     occupation;

               (e)     previous employment history, including a description of duties for each
                       employer.

        89.     For each person identified in your answer to interrogatory number 87, state the
subject matter of the witness's proposed testimony and the facts to which the person will testify.

               The facts set forth in plaintiff's Complaint; product identification; plaintiff's
               job duties and exposure to asbestos; lack of warnings on asbestos-containing
               products; plaintiff's physical and mental pain and suffering as well as other
               damages.

        90.    With whom did you consult in preparing your answers to these interrogatories?

               Counsel of record.




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        91.    Did you rely on any documents in preparing your answers to these interrogatories?
If so, describe each document fully, and state when, where, and from whom you obtained the
document.

               Counsel relied in part on plaintiff's medical records and reports.

ANSWERS 92-113

        The following physician(s) have examined and/or tested the plaintiff, and/or have reviewed
the plaintiff's medical records and studies, and may testify in this litigation:



               Plaintiff’s expert medical witnesses and their reports will be
               supplied in accordance with the applicable procedural rules.

               Plaintiff also reserves the right to call as expert and/or fact
               witnesses, any of plaintiff’s treating physicians, or any physician
               who has rendered any findings, diagnoses or opinions relative to
               the plaintiff.

               For Answers to Interrogatories 92(b)-113, see plaintiff's medical
               records, plaintiff's expert reports, and the prior qualifications
               and general medicine testimony given by the plaintiff's medical
               experts.

          114. Please list the names and addresses of every person you intend to call at the time of
trial to testify as a non-medical expert witness and for each state and identify:

               To be supplied.

               (a)     The subject matter of his expected testimony;

               (b)     The substance of the facts and opinions to which he will testify;

               (c)     All materials or other information provided by you to him for the preparation
                       of his testimony in this case;

               (d)     All materials reviewed by him with regard to his testimony in this case;

               (e)     All materials upon which he will rely for his testimony in this case;




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               (f)     All materials he will utilize during the
                       course of his testimony in this case;

               (g)     His employers for the past ten years and his title and job responsibilities for
                       each;

               (h)     The caption of every other asbestos case in which he has testified since 1980,
                       the party for whom he testified and the name of the opposing counsel in
                       each;

               (i)     All facts upon which you will rely at trial to qualify him as an expert;

               (j)     All books, articles, studies or other matters published by the expert;

               (k)     The title and subject matter of all unpublished articles, books or studies
                       authored by the expert.

        115. State the name and address of every person who has been retained, consulted or
specially employed as an expert in anticipation of litigation or preparation for trial, but who is not
expected to be called as a witness at trial.

               Objection. Defendants are not entitled to discovery of this information without
               a showing of exceptional circumstances for requiring this information under
               the applicable Rules of Civil Procedure.

                                       NASS CANCELLIERE

                                       /s/Michael A. Cancelliere, Jr.

                                       BY:
                                               MICHAEL A. CANCELLIERE, JR.
                                               Attorneys for Plaintiffs




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                                          PLAINTIFF'S RESIDENCES



DATES                                                 ADDRESSES

Childhood                                             7906 Buist Avenue
                                                      Philadelphia, PA


Approx. 65 years                                      Apartment in Southwest Philadelphia


Approx. 1963-1973                                     7906 Buist Avenue
                                                      Philadelphia, PA

Approx. 1973-Present                                  462 Hillside Road
                                                      Ridley Park, PA




                                                 EXHIBIT 1
                            Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 40 of 56




                                             PLAINTIFF'S WORK HISTORY


Dates                            Employer                         Job Title                   Asbestos Exposure




See Plaintiff’s Complaint




                                                      EXHIBIT 2
                   Case 2:21-cv-03667-ER Document 1-1 Filed 08/17/21 Page 41 of 56




                                   PLAINTIFF'S HOSPITALIZATIONS


Dates          Hospital               Medical Condition                   Physician

SEE PLAINTIFF’S MEDICAL RECORDS AND REPORTS IN THE POSSESSION OF RECORDTRAK.




                                              EXHIBIT 3
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                                      PLAINTIFF'S PHYSICIANS


Dates          Physician                                      Medical Condition(s)


SEE PLAINTIFF’S MEDICAL RECORDS AND REPORTS IN THE POSSESSION OF RECORDTRAK.




                                             EXHIBIT 4
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                                 LOCATIONS OF ASBESTOS EXPOSURE


Employer                                                  Location


See Exhibit No. 2




                                              EXHIBIT 5
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                          PLAINTIFF'S SUPERVISORS AND CO-WORKERS


Employer                            Supervisors                              Co-Workers

SEE PLAINTIFF’S PRODUCT IDENTIFICATION WITNESS LIST WHICH WILL BE SUPPLIED IN ACCORDANCE
WITH THE APPLICABLE LOCAL RULES OF CIVIL PROCEDURE.




                                            EXHIBIT 6
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                   CERTIFICATE OF SERVICE – EUGENE KOZUCH

The undersigned attorney certifies that the foregoing Plaintiff’s Answers to Defendants’ Master
Interrogatories was electronically served on all law firms of record this 15th day of June, 2021.
It is available for viewing and downloading through RecordTrak’s E-Service. It has been served
by fax or email for those non-participating law firms.

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